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                           IN THE UNITED STATES BANKRUPTCY
                          COURT FOR THE NORTHERN DISTRICT OF
                                TEXAS AMARILLO DIVISION

          IN RE:                                          §
                                                          §
          MCCLAIN FEED YARD, INC., et al.,1               §        CASE NO. 23-20084-RLJ-7
                                                          §
                                                          §
          D~fun                                           §        Jointly Administered 1


                       ACCEPTANCE OF SERVICE OF RULE 2004 SUBPOENA
                                          (Rabo AgriFinance, LLC)

          The undersigned, Michael Johnson, counsel for Rabo AgriFinance, LLC ("Rabo") (i) affirms that

  he has received a copy of the Subpoena for Rule 2004 Production ofDocuments, dated December 14, 2023,

  issued in the above-entitled cases by David LeBas, counsel for AgTexas Farm Credit Services; AgTexas,

  PCA; and Thorlakson Diamond T. Feeders, LP, (the "Subpoena"); (ii) accepts service of the Subpoena on

  behalf of Rabo without the requirement of formal service; and (iii) waives any right that Rabo might have

  to service of the Subpoena by any other means.

          Rabo, reserves all other rights and defenses with respect to the Subpoena other than defenses, if

  any, based upon improper or ineffective service.

          Dated this   \:jiV' day of ~-<LJ,,f0tHf             , 2023 .




                                                                         ~~
                                                                   Michael R. Johnson
                                                                   Ray Quinney & Nebeker P.C.
                                                                                                              I




                                                                   Attorney for Rabo AgriFinance, LLC




          1The Debtors in these chapter 7 cases are: McClain Feed Yard, Inc. (Case No. 23-20084-
          RLJ), McClain Farms, Inc. (Case No. 23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case
          No. 23-20086-RLJ)
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                                     CERTIFICATE OF SERVICE

           The undersigned certifies that on this the 19th__ day of December
                                                                           _ _ __, 2023, the foregoing
   ACCEPTANCE OF SERVICE OF SUBPOENA and RULE 2004 SUBPOENA was electronically filed
   and served via the Court's ECF System on all electronic filing users in this case.



                                                                Isl David L. LeBas
                                                                David L. LeBas
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                                   UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS, AMARILLO DIVISION

                IN RE:

                MCCLAIN FEED YARD, INC., et al.,i §                      CASE NO. 23-20084-RLJ-7
                                                                  §
                                                                  §
                Debtors                                       §          Jointly Administered1


                              SUBPOENA FOR RULE 2004 PRODUCTION OF DOCUMENTS

                TO: Rabo AgriFinance, LLC
                By and through counsel of record
                Michael Johnson
                Ray Quinney & Nebeker P.C.
                36 South State Street, Suite 1400
                Salt Lake City, UT 84111
                MJohnson(%rqn.com


                                                       (Name of person to whom the subpoena is directed)


Q Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.

PLACE                                                                                            DATE AND TIME




         Production: You, must produce on or before twenty (20) days after seryice, or at a mutually agreed time, at
the office ofNaman Howell Smith & Lee, 8310 N. Capital of Texas Highway, Ste 490, Austin, Texas 78731, the
following documents, electronically stored information or objects, and must permit inspection, copying, testing, or
sampling of the material:

                                                SEE EXHIBIT "A" ATTACHED HERETO


           The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena;and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.


              ISSUING OFFICER SIGNATURE AND TITLE                             DATE

                                                                                Oc.^^.- /^ /<- /-^
                   /,)^.-^ /i^a-
              David L. LeBas
              Naman Howell Smith & Lee
              8310 N. Capital of Texas Highway, Ste 490
              Austin, Texas 78731
              Ph.512-479-0300
               Attorney for AgTexas Farm Credit Services
               Ag Texas PCA and Thorlakson Diamond T.
               Feeders, LP


       ' The Debtors in these chapter 7 cases are: McClain Feed Yard, Inc. (Case No. 23-20084-RLJ), McClain Farms, Inc. (Case No.
      23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case No. 23-20086-RLJ)
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                                        Notice to the person who issues or requests this subpoena
                If this subpoena commands the production of documents, electronically stored information, or tangible things,
     or the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it
      is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)




I received this subpoena for (name of individual and title, if any):
on (date)


     I served the subpoena by delivering a copy to the named person as follows:



                                                      on (date) _; or
     I returned the subpoena unexecuted because:




Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of $_


My fees are $_for travel and $_for services, for a total of $_



          I declare under penalty of perjury that this information is true and correct.


Date:


                                                                                           Sei-ver 's signature




                                                                                          Printed name and title




                                                                                            Sewer's address




 Additional information concerning attempted service, etc.:
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                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                       (ii) disclosing an unretained expert's opinion or information that does
                                                                                          not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hewing, or Deposition. A subpoena may command a                        study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                            (C) Specifying Conditions cis cm Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                     described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                                modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly              conditions if the serving party:
transacts business in person, if the person                                                     (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party's officer; or                                             be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                       (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                  compensated.


  (2) For Other Discovery. A subpoena may command:                                        (c) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,                (1) Producing Documents or Eleclronicaily Stored Iiiformalion. These
or regularly transacts business in person; and                                            procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                          information:
                                                                                              (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                          documents must produce them as they are kept in the ordinary course of
                                                                                          business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Scmctions. A party or
                                                                                          the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                             (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                          Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                          electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                          a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                          usable form or forms.
party or attorney who fails to comply.
                                                                                              (C) Eleclronically Stored Information Produced m Only One Form. The
                                                                                          person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                          information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                              (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                          responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                          from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                          of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                          order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                          reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                          made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                          requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                          26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                            (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                              (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                          information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                          trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                                (i) expressly make the claim; and
order compelling production or inspection.
                                                                                                (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                          or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                          privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                              (B) Information Produced. If information produced in response to a
                                                                                          subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                          preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                          received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                          notified, a party must promptly rehim, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                          information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                          until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                          information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                          promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                          where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                          who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                          is resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:
                                                                                          (g) Contempt. The court for the district where compliance is required - and
     (i) disclosing a trade secret or other confidentialresearch,
                                                                                          also, after a motion is transferred, the issuing court - may hold in contempt
development, or commercial information; or
                                                                                          a person who, having been served, fails without adequate excuse to obey
                                                                                          the subpoena or an order related to it.



                                             For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                  EXHIBIT "A"
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                                               DEFINITIONS

                                         (Rabo AgriFinance, LLC)

        1. MF. The term "MF" shall mean McClain Farms, Inc., a Kentucky corporation, and all


officers, directors, members, employees, attorneys, agents, and representatives of the foregoing.


        2. MFY. The term "MFY" shall mean McClain Feed Yards, Inc., a Texas corporation, and all


officers, directors, members, employees, attorneys, agents, and representatives of the foregoing.


        3. 7M. The term "7M" shall mean 7M Cattle Feeders, Inc, a Kentucky corporation, and all


officers, directors, members, employees, attorneys, agents, and representatives of the foregoing.


        4. McClain. The term "McClain" shall mean Brian Keith McClain, aka Brian K. McClain, and


also includes his agents, heirs, and representatives, including but not limited to his estate, his widow Chelsea


McClain, his former spouse Crystal McClain, his daughter Meagan B. Goad, f/k/a Meagan B. Powell, and his


daughter Kinsey Moreland.


        5. McClain Parties. The term "McClain Parties" shall mean each and all ofMF, MFY, 7M, and


McClain, either individually or collectively as the context may require. For purposes of this subpoena, the


term shall also include any collateral, property, or assets of the McClain Parties. It shall also include any


representative or agent of the McClain Parties.


        6. McClain Related Parties. The term "McClain Related Parties" shall mean any or all of the


foregoing: (a) Chelsea McClain, (b) Crystal McClain, (c) Meagan B. Goad, fka Meagan B. Powell, (d) Jed

Goad, or (e) Kinsey Moreland.


        7. Cattle. The term "Cattle" shall mean any cattle or other livestock that was owned by or under


the control of any of the McClain Parties from and after August 1,2017.

        8. Wildforest. The term "Wildforest" shall mean Wildforest Cattle Company, LLC, a Kentucky


limited liability company, and all officers, directors, members, employees, attorneys, agents, and


representatives of the foregoing, including but not limited to Samuel S. Brown.


        9. MAP. The term "MAP" shall mean MAP Enterprises, Inc., a Kentucky corporation, and all


officers, directors, members, employees, attorneys, agents, and representatives of the foregoing, including but


not limited to Michael Gourley.
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        10. 2B. The term "2B" shall mean 2B Farms, Inc., a Texas corporation, and all officers, directors,


members, employees, attorneys, agents, and representatives of the foregoing, including but not limited to Bo


Robinson.


        11. CFSB. The term "CFSB" shall mean Community Financial Services Bank, and all officers,


directors, members, employees, attorneys, agents, and representatives of the foregoing.


        12. MB. The term "MB" shall mean Mechanics Bank, a state or federally charted bank with its


executive offices at 1111 Civic Drive, Walnut Creek, California 94596.


        13. Rabo AgriFinance. The term "Rabo AgriFinance" shall mean Rabo AgriFinance, LLC, and


all officers, directors, members, employees, attorneys, agents, and representatives of the foregoing.


        14. Michelle Stockett. References to Michelle Stockett shall mean Michelle Stockett, who is

employed as a collateral inspection agent (or similar capacity) by Rabo AgriFinance.

        15. IVIcClain Accounts. The term "McClain Accounts" shall mean any and all savings, checking,


money market, demand, deposit, loan or other financial accounts owned by or in the name of any of the


McClain Parties and held or located at either CFSB or MB during the Relevant Time Period, including but not

limited to those accounts at MB identified as Account Nos. XXX3070 in the name ofMF, XXX0423 in the

name of7M, and XXX0197 in the name ofMFY.

        16. Wildforest Accounts. The term "Wildforest Accounts" shall mean any and all savings,


checking, money market, demand, deposit, loan or other financial accounts owned by or in the name of


Wildforest during the Relevant Time Period, including but not limited to any accounts held or located at CFSB.

        17. MAP Accounts. The term "MAP Accounts" shall mean any and all savings, checking, money


market, demand, deposit, loan or other financial accounts owned by or in the name of MAP during the Relevant


Time Period, including but not limited to any accounts held or located at CFSB.


         18. 2B Accounts. The term "2B Accounts" shall mean any and all savings, checking, money


market, demand, deposit, loan or other financial accounts owned by or in the name of2B during the Relevant


Time Period.
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        19. McClain Related Parties Accounts. The term "McClain Related Parties Accounts" shall mean


any and all savings, checking, money market, demand, deposit, loan or other financial accounts owned by or


in the name of any of the McClain Related Parties during the Relevant Time Period.

        20. Whitlock. The term "Whitlock" shall mean Whitlock CPA, PLLC, a Kentucky professional

limited liability company, and all officers, directors, members, employees, attorneys, agents, and


representatives of the foregoing, including but not limited to Julie Whitlock.

        21. Relevant Documents Time Period. The term "Relevant Documents Time Period" shall mean


the period from August 1, 2017, through the present.


        22. Relevant Communications Time Period. The term "Relevant Communications Time Period"


shall mean the period from August 1, 2017, through the present.


        23. Documents or Electronically Stored Information. The term "documents or electronically


stored information" shall be synonymous in meaning and equal in scope to the usage of those terms in Rule


34 of the Federal Rules of Civil Procedure, and shall include, without limitation, any written, printed,


electronic, typed, recorded, filmed, punched, transcribed, taped, or other graphic matter of any kind or nature


however stored, produced, or reproduced, whether sent or received or neither, including the original, drafts,


copies, and non-identical copies bearing notations or marks not found on the original, and includes, but is not


limited to, all records, memoranda, reports, financial statements, handwritten and other notes, transcripts,


paper, indices, electronic mail messages, electronic text messages, voicemail, word processing documents,


spreadsheets, databases, calendars, telephone logs, contact manager information, internet usage files


(including activity logs, records of internet and web browser generated files, history files, caches, and cookies),


network access information, blogs, frweets, instant messages, letters, envelopes, telegrams, cables, telex


messages, telephone messages, summaries or records of telephone conversations, summaries or records of


personal conversations or interviews, summaries or records of meetings or conferences, minutes or transcripts


or notations of meetings or telephone conversations or other communications of any type, tabulations, studies,


analyses, evaluations, projections, work papers, statements, summaries, opinions, journals, desk calendars,


appointment books, diaries, billing records, invoices, or photographs, or other data compilations in any


medium from which information can be obtained, including, but not limited to microfilms, magnetic tapes,
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electronic storage, computers, laptops, hard drives, thumb drives, personal digital assistants, smart phones,


and archives, and includes any other documents discoverable under Federal Rule of Civil Procedure 26, which


are in your custody, possession, and/or control or to which you otherwise have access. The term "document"


also includes file and folder tabs associated with each of the aforementioned originals, copies, drafts, or


versions. The term "document" also includes "communication" as defined herein.


        24. Communications. The term "communications" shall be construed as broadly as possible, and


shall include, but not be limited, to all e-mails, text messages, correspondence, memoranda, or other written


documentation in any form.


        25. Concerning. The term "concerning" means referring to, referencing, reflecting, in connection


with, describing, evidencing, indicating, supporting or constituting, digesting, embodying, establishing,


tending to establish, tending not to establish, comprising, commenting on, responding to, disagreeing with,


showing, describing, analyzing, representing, constituting or including, in whole or in part.


        26. All/Each. The terms "all" and "each" shall be construed as all and each.


        27. And/Or. The connectives "and" and "or" shall be construed either disjunctively or


conjunctively as necessary to bring within the scope of the discovery request all responses that might otherwise


be construed to be outside of its scope.


         28. Number. The use of the singular form of any word includes the plural and vice versa.


         29. Tense. The use of the present tense includes the present and past tense, and the use of the


past tense includes the past and present tense.


         30. YouA^our. The terms "You" and/or "Your" means to person or entity to whom this subpoena


is directed.


                                                  mSTRUCTIONS

         A. To the extent any Document Request in this subpoena seeks documents also covered by any


other Document Request(s) to You, it is for purposes of completeness only, and should in no way be construed


as limiting or otherwise narrowing any of the other Requests herein.


         B. These Requests shall extend to all documents in the possession, custody, and/or control of


You, as well as all documents in the possession, custody, or control of persons or entities under Your control
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or which You could reasonably gain access.


         C. In the event that more than one copy of a documents exists, You should produce the original


and each non-identical copy of each document or other tangible thing requested herein that is in Your


possession, custody or control, or the control of Your agents, attorneys, accountants, or employees, or to which


You could reasonably gain access.


         D. You should comply with the requirements of the Federal Rules of Civil Procedure regarding

claims of privilege or protection of trial preparation materials.


         E. These Requests shall be deemed continuing in nature to the fullest extent permitted by law. If


further responsive information comes into the possession or attention of You or Your attorneys at any time


during the course of this proceeding, such information must be provided as required by the Federal Rules of


Civil Procedure.


                                        REQUESTED DOCUMENTS

         1. All notes, memoranda, journals, and/or diaries Michelle Stockett created related to inspections


of the McClain Parties during the Relevant Documents Time Period. This includes materials maintained


electronically, hard-copy, or hand-written format.


         2. All notes, memoranda, journals and/or diaries created by any other individual who inspected


the McClain Parties related to those inspections, during the Relevant Documents Time Period. This includes


documents which are in Michelle Stockett's and/or Rabo AgriFinance's possession, and includes materials


maintained electronically, hard-copy, or hand-written format.


         3. Any communications between Michelle Stockett and the McClain Parties for the Relevant


Communications Time Period.


         4. Any communications between Michelle Stockett and the McClain Related Parties for the


Relevant Communications Time Period.


         5. Any communications between Michelle Stockett and Rabo AgriFinance about the inspection


conducted in February 2023.


         6. Any reports created by Michelle Stockett concerning the inspection conducted in February


2023.
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          7. Any recommendations created by Michelle Stockett after the inspection conducted in


February 2023.


          8. Any communications Michelle Stockett exchanged with anyone other than Rabo AgriFinance


about the inspection conducted in February 2023.


          9. All Feedlot Collateral Inspection Reports maintained by Michelle Stockett for the Relevant

Documents Time Period related to the McClain Parties.


          10. All Pre-Funding Collateral Inspection Reports maintained by Michelle Stockett for the


Relevant Documents Time Period related to the McClain Parties.


          11. All other Collateral Inspection Reports maintained by Michelle Stockett for the Relevant

Documents Time Period related to the McClain Parties,


          12. All Beef Cattle Collateral Inspection Reports maintained by Michelle Stockett for the

Relevant Documents Time Period related to the McClain Parties.


          13. Any collateral audit documents not contained in the collateral inspection reports (in items 9-


12 above) ("collateral inspection reports") created by Michelle Stockett during the Relevant Documents Time

Period.


          14. Any documents related to the testing of the McClain Parties' budgets, projections, accounting


records, management strategies, and business strategies during the Relevant Documents Time Period.


          15. Any documents related to the valuation methods of the McClain Parties' collateral, assets,


real estate, or other items evaluated for inspection purposes.


          16. Any risk assessment documents Michelle Stockett created related to inspections of the


McClain Parties during the Relevant Documents Time Period.


          17. Any documents during the Relevant Documents Time Period related to the assessment and


quality of the McClain Parties' internal controls which are not contained in the collateral inspection reports.


          18. Any documents during the Relevant Documents Time Period related to the assessment and


quality of the McClain Parties' financial reporting which are not contained in the collateral inspection reports.


          19. Any documents from the Relevant Documents Time Period related to budget reviews of the


McClain Parties' budgets.




                                                                                                                  7
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         20. Any documents created during the Relevant Documents Time Period that were used by Rabo


AgriFinance in any asset based/formula lending to the McClain Parties.


         21. Any documents created during the Relevant Documents Time Period related to Michelle


Stockett's and/or Rabo AgriFinance's analysis of the McClain Parties' inventory, accounts payable, and


accounts receivable during the Relevant Documents Time Period which were not made part of the collateral


inspection reports.


         22. Any documents created during the Relevant Documents Time Period related to adverse


findings which posed a risk to Rabo AgriFinance that were not made a part of the collateral inspection reports.


         23. Any photographs or videos captured of the inspection of the McClain Parties that took place

in February 2023.

         24. Any photographs or videos captured from any other inspection of the McClain Parties during


the Relevant Documents Time Period.


         25. Any photographs or videos provided to Michelle Stockett and/or Rabo AgriFinance by any

other person or entity which depict the McClain Parties' assets, collateral, cattle, or other property during the


Relevant Documents Time Period.


         26. Any cattle headcount sheets created during collateral inspections of the McClain Parties


during the Relevant Documents Time Period.


         27. Any inventory sheets created during inspections of the McClain Parties during the Relevant


Documents Time Period.


          28. Unedited copies of the following Reports, previously produced by Rabo AgriFiance in

redacted form (identified by the Bates Numbers associated with the previous production):

                    a. RAF/AT Subpoena Response 001490-001494;

                    b. RAF/AT Subpoena Response 001495-001500;

                    c. RAF/AT Subpoena Response 001501-001511;

                    d. RAF/AT Subpoena Response 00151 2-001520;

                    e. RAF/AT Subpoena Response 001521-001530;

                    f. RAF/AT Subpoena Response 001531-001539;
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                 g. RAF/AT Subpoena Response 001540-001548

         29. All communications involving Michelle Stockett that refer to the Intercreditor Agreement


dated as of January 27, 2021, a true copy of which is included hereto as Attachment "A."
